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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:06CR400
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
KELLY W. PETERS,                                 )
                                                 )
                     Defendant.                  )


       This matter is before the court on the motion of Susan M. Bazis to withdraw as
counsel for defendant Kelly W. Peters (Peters) and to continue the trial scheduled for April
9, 2007 (Filing No. 23). Ms. Bazis represents that Beau G. Finley will enter his appearance
as counsel for Peters and that Peters will submit an affidavit in accordance with paragraph
10 of the progression order. For good cause shown, the motion will be granted.
       IT IS ORDERED:
       1.     Ms. Bazis’s motion to withdraw as counsel for Peters (Filing No. 23) is
granted.
       2.     Beau G. Finley shall enter his appearance as counsel for Peters forthwith.
       3.     The motion for a continuance of the trial in this matter (Filing No. 23) is
granted. Trial of this matter is rescheduled before Chief Judge Joseph F. Bataillon and a
jury commencing at 8:30 a.m. on May 14, 2007. The additional time arising as a result
of the granting of the motion, i.e., the time between March 28, 2007 and May 14, 2007,
shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason that newly retained counsel requires additional time to
adequately prepare the case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).
       DATED this 28th day of March, 2007.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
